Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 1 of 34




                     EXHIBIT 11A
    Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 2 of 34




               Compensation Framework for Coastal Real Property Claims

1. Eligibility Requirements

       A. Eligible Claimants shall be comprised of claimants who do not fall within the
          exclusions to the Economic Loss and Property Class Definition and who are
          owners or lessees of Eligible Parcels satisfying the following criteria:

                 i.    The claimant owned the Eligible Parcel during the time period April 20,
                       2010 to December 31, 2010; or

                ii.    The claimant was a lessee of the Eligible Parcel, and the lease provided
                       for possession of the Eligible Parcel for a period of 60 days or longer
                       during the time period April 20, 2010 to December 31, 2010 and the lease
                       was executed prior to April 20, 2010.

                            i. The Claims Administrator shall determine whether an Eligible
                               Claimant(s) is/are the owner(s) of an Eligible Parcel.

       B. Coastal Real Property Claim Zone shall be defined as the blue shaded portions of
          the Coastal Real Property Claim Zone Map attached as Appendix A. (See
          Appendix B for a description of the criteria used to establish the Coastal Real
          Property Claim Zone.)

       C. Eligible Parcels shall be comprised of the following two categories:

                 i.    Parcels located within the Coastal Real Property Claim Zone that have a
                       County Land Use Designation included on the list attached as Appendix
                       C. (A parcel is a specific tract of real property defined by a legal
                       description of boundaries used for taxing purposes.)

                ii.    Deeded Boat Slips located within the Coastal Real Property Claim
                       Zone. Deeded Boat Slips shall be defined as boat slips for which the
                       Eligible Claimant paid real property tax during the time period April 20,
                       2010 to December 31, 2010.


       D. An Eligible Parcel shall be placed into one of four Compensation Categories1:

                      Compensation Category A1 shall consist of Eligible Parcels satisfying the
                      following two criteria: (i) the presence of oil was reported on the Eligible
                      Parcel by the Deepwater Horizon Unified Command Shoreline Cleanup

1
 Grand Isle, Louisiana and Dauphin Island, Louisiana are included in the Coastal Real
Property Claim Zone and will be placed into a Compensation Category consistent with
Section 1. D.
                                            Page 1 of 33

                                                                                            027505
    Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 3 of 34




                   Assessment Teams (SCAT) or a Pre-Assessment conducted as part of Phase
                   1 of the Natural Resources Damages Assessment process (“NRD Pre-
                   Assessment”) and (ii) the Eligible Parcel includes, or is situated upon, a
                   shoreline for which no portion of the shoreline has a primary
                   Environmental Sensitivity Index (“ESI”) classification of 10A (salt and
                   brackish (coastal marshes)), 10B (freshwater marshes), 10C (freshwater
                   swamps) or 10D (scrub-shrub wetlands (includes mangroves)) as
                   determined by the National Oceanic and Atmospheric Administration
                   (“NOAA”)2.

                   Compensation Category A2 shall consist of Eligible Parcels satisfying the
                   following two criteria: (i) the presence of oil was reported on the Eligible
                   Parcel by SCAT or an NRD Pre-Assessment and (ii) the Eligible Parcel
                   includes or is situated upon a shoreline for which some portion of the
                   shoreline has a primary ESI classification of 10A (salt and brackish (coastal
                   marshes)), 10B (freshwater marshes), 10C (freshwater swamps) or 10D
                   (scrub-shrub wetlands (includes mangroves)) as determined by the NOAA.

                   Compensation Category B1 shall consist of Eligible Parcels satisfying the
                   following two criteria: (i) no presence of oil was reported on the Eligible
                   Parcel by SCAT or an NRD Pre-Assessment and (ii) the Eligible Parcel
                   includes or is situated upon a shoreline for which no portion of the
                   shoreline has an ESI classification of 10A (salt and brackish (coastal
                   marshes)), 10B (freshwater marshes), 10C (freshwater swamps) or 10D
                   (scrub-shrub wetlands (includes mangroves)) as determined by the NOAA.

                   Compensation Category B2 shall consist of Eligible Parcels satisfying the
                   following two criteria: (i) no presence of oil was reported on the Eligible
                   Parcel by SCAT or an NRD Pre-Assessment and (ii) the Eligible Parcel
                   includes or is situated upon a shoreline for which some portion of the
                   shoreline has a primary ESI classification of 10A (salt and brackish (coastal
                   marshes)), 10B (freshwater marshes), 10C (freshwater swamps) or 10D
                   (scrub-shrub wetlands (includes mangroves)) as determined by the NOAA.

         i.   An Eligible Parcel shall be classified as having “the presence of oil” (a criteria
              for Compensation Categories A1 and A2) when any SCAT zone within the
              parcel has a maximum oiling classification other than “no oil observed” or (ii) an
              NRD Pre-Assessment conducted within the parcel reported the presence of oil on
              vegetation and/or sediment.



2
 Environmental Sensitivity Index numbers used by the National Oceanic and Atmospheric
Administration can be found at the following website:
http://archive.orr.noaa.gov/gallery_gallery.php?RECORD_KEY%28gallery_index%29=joinphot
ogal_id,gallery_id,photo_id&joinphotogal_id(gallery_index)=86&gallery_id(gallery_index)=4&
photo_id(gallery_index)=35
                                          Page 2 of 33

                                                                                          027506
Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 4 of 34




     ii.   An Eligible Parcel is determined to have “no presence of oil” (a criteria for
           Compensation Categories B1 and B2) when (i) all SCAT zones within the
           parcel have a maximum oiling classification of “no oil observed” or (ii) no NRD
           Pre-Assessment conducted within the parcel reported the presence of oil on
           vegetation or sediment.

    iii.   Administrator’s Database: The Claims administrator shall maintain a
           Geographic Information Systems database (“Administrator’s Database”)
           containing the results of SCAT, NRD Pre-Assessment, NOAA ESI shoreline
           classifications, County Land Use Designations and the official parcel boundaries
           for all real property within the Coastal Real Property Claim Zone. The Claims
           Administrator shall determine the Compensation Category for each Eligible
           Parcel based upon the information in the Administrator’s Database and
           consistent with the criteria in this Section 1. D. Attached is a map classifying each
           known Eligible Parcel into a Compensation Category by applying the
           information in the Administrator’s Database as of the settlement date. This map
           shall be referred to as the Eligible Parcel Compensation Category Map, and a
           copy is attached as Appendix D. Administrator’s Database shall be periodically
           updated through the duration and term of the Settlement Agreement.
           Administrator’s Database is presumed to be the best available evidence,
           however, that presumption may be rebutted as outlined in Sections E., F., G. and
           H. below. The use of environmental data (including SCAT and NRDA data) as
           part of this Compensation Framework shall not constitute an admission or judicial
           determination related to the admissibility or interpretation of such data for any
           other purpose, and, further, the use of such data shall have no effect on, and shall
           be without prejudice to, the use, admissibility and interpretation of such data for
           any other purpose, including any claims for natural resource damages.

   E. A parcel not located within the Coastal Real Property Claim Zone may be added to
      the Coastal Real Property Claim Zone by the Claims Administrator only if the
      parcel is documented as oiled pursuant to SCAT or by an official assessment
      conducted by Natural Resource Trustees in connection with the DWH Spill. No other
      parcels outside the Coastal Real Property Claim Zone shall have the ability to
      become an Eligible Parcel.

   F. The Administrator’s Database contains the publicly available parcel boundary data
      released by county tax assessors for real property in the Coastal Real Property
      Claim Zone. In some instances, publicly available parcel boundary data may be
      incomplete or out-of-date. Accordingly, real property located in Coastal Real
      Property Claim Zone not identified as a parcel shall nonetheless be classified by the
      Claims Administrator as an Eligible Parcel provided the claimant documents the
      following:

             i.   Actual presence of the parcel in the Coastal Real Property Claim Zone.
                  Documentation of actual presence of parcel in the Coastal Real Property
                  Claim Zone must consist of an official document provided by the county

                                        Page 3 of 33

                                                                                          027507
  Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 5 of 34




                     tax assessor, Clerk of Court, Registrar of Lands or other governmental
                     lands office or agency such as a 2010 county tax notice or a professional
                     survey of the parcel.

      G. The Administrator’s Database contains publicly available County Land Use
         Designations for parcels within the Coastal Real Property Claim Zone. In some
         instances, publicly available County Land Use Designations may be incomplete or
         out-of-date. Accordingly, a parcel located within the Coastal Real Property Claim
         Zone for which the County Land Use Designation in the Administrator’s Database
         is not listed in Appendix C nonetheless shall be categorized as an Eligible Parcel if
         the claimant provides documentation from the county tax assessor, Clerk of Court,
         Registrar of Lands or other governmental lands office or agency sufficient to show
         that the parcel does in fact have a County Land Use Designation listed in Appendix
         C.

      H. An Eligible Parcel within the Coastal Real Property Claim Zone may be
         reclassified by the Claims Administrator into a different Compensation Category if
         one of the following conditions is satisfied:

                i.   An Eligible Parcel placed in Compensation Category B1 or
                     Compensation Category B2 pursuant to information in the
                     Administrator’s Database shall be reclassified by the Claims
                     Administrator into Compensation Category A1 or Compensation
                     Category A2 if the Eligible Claimant provides independent
                     documentation in the form of a government or academic report, not
                     commissioned by the Eligible Claimant or Eligible Claimant’s attorney
                     or agent, with said independent documentation establishing that the
                     Eligible Parcel contains the presence of oil released by the DWH Spill
                     even though no portion of the parcel is classified as oiled pursuant to
                     SCAT or NRD Pre-Assessment.

               ii.   An Eligible Parcel on a shoreline with a primary ESI classification of less
                     than 10 as determined by NOAA and classified into Compensation
                     Category A1 or Compensation Category B1 shall be reclassified into
                     Compensation Category A2 or Compensation Category B2 if the
                     Eligible Claimant provides documentation from NOAA showing that the
                     Eligible Parcel is on a shoreline with a primary ESI classification of 10A
                     (salt and brackish (coastal marshes)), 10B (freshwater marshes), 10C
                     (freshwater swamps) or 10D (scrub-shrub wetlands (includes mangroves)).

              iii.   The Claims Administrator shall undertake an investigation to determine
                     whether the information submitted pursuant to this Section satisfies the
                     criteria for reclassification set out H. i. and H. ii.

2. Compensation for Eligible Parcels


                                          Page 4 of 33

                                                                                          027508
    Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 6 of 34




       A. An Eligible Claimant must submit a Claim Form3, all required supporting
          documents and a Verification Statement to receive compensation for Eligible
          Parcels. The Claim Form, Document Requirements and Verification Statement
          are attached as Appendices E, F and G, respectively.

       B. An Eligible Claimant who satisfies the eligibility requirements of Section 1 and
          submits a Claim Form, all required supporting documents and a Verification
          Statement, shall be entitled to receive the appropriate Coastal Real Property
          compensation amount (“Coastal Real Property Compensation Amount”) for an
          Eligible Parcel depending upon the criteria outlined in this section. The particular
          Coastal Real Property Compensation Amount shall be calculated as follows using
          a specified percentage of the 2010 Applicable Property Tax4 for the Eligible
          Parcel5:

                        i.   For an Eligible Parcel in Compensation Category A1 the Coastal
                             Real Property compensation amount shall be 40% of the 2010
                             Applicable Property Tax.

                       ii.   For an Eligible Parcel in Compensation Category A2, the
                             Coastal Real Property Compensation Amount shall be 45% of
                             the 2010 Applicable Property Tax.

                      iii.   For an Eligible Parcel in Compensation Category B1, the
                             Coastal Real Property Compensation Amount shall be 30% of
                             the 2010 Applicable Property Tax.

                      iv.    For an Eligible Parcel in Compensation Category B2, the
                             Coastal Real Property compensation amount shall be 35% of
                             the 2010 Applicable Property Tax.

       C. For the Coastal Real Property Compensation Amount described in Section 2. B,
          “2010 Applicable Property Tax” shall be defined as an Eligible Parcel’s 2010
          County Appraised Value multiplied by 1.18% (“Applicable Real Property Tax
          Rate”).

       D. “County Appraised Value” shall mean the following for an Eligible Parcel
          depending on the state it is located in:

                    Florida: For an Eligible Parcel located in the Florida counties of
                    Escambia, Okaloosa, Santa Rosa, Walton, Bay, Gulf, Franklin and



3
 The Claim Administrator may prepare the final Claim Form consistent with Appendix E. In no
case shall the final Claim Form omit the substance of any question contained in Appendix E.
4
  2010 Applicable Property Tax is defined in Section 2. C.
5
  See Appendix H for example calculations of Coastal Real Property Compensation Amounts.
                                          Page 5 of 33

                                                                                         027509
    Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 7 of 34




                      Wakulla, County Appraised Value shall mean Just Value as determined
                      by the respective Florida County tax assessor.

                      Alabama: For an Eligible Parcel located in Baldwin County, Alabama,
                      County Appraised Value shall mean True Value as determined by the
                      Baldwin County tax assessor. For an Eligible Parcel located in Mobile
                      County, Alabama, County Appraised Value shall mean Market Value, as
                      determined by the Mobile County tax assessor.

                      Mississippi: For an Eligible Parcel located in Jackson County Mississippi,
                      County Appraised Value shall mean TOTALVAL as determined by
                      Jackson County tax assessor. For an Eligible Parcel located in Harrison
                      County, Mississippi, the County Appraised Value shall mean Total Value
                      as determined by the Harrison County tax assessor. For an Eligible Parcel
                      located in Hancock County, Mississippi the County Appraised Value
                      shall mean LRTOT as determined by the Hancock County tax assessor.

                      Louisiana: For an Eligible Parcel located in Grand Isle, Jefferson Parish,
                      Louisiana, County Appraised Value shall mean Fair Market Value as
                      determined by the Jefferson Parish tax assessor.

                 i.   If the County Appraised Value is net of a Homestead Exemption, the
                      amount of such Homestead Exemption shall be added to the County
                      Appraised Value for purposes of calculating the Coastal Real Property
                      Compensation Amount.

       E. An Eligible Parcel with a County Land Use Designation listed in Appendix I shall
          be entitled to the greater of (i) calculation in 2. B. above or (ii) a minimum as detailed
          below.6

                 i.   The minimum Coastal Real Property Compensation Amount shall be
                      as follows:

                          a. $1,000 for an Eligible Parcel in Compensation Category A1.

                          b. $1,100 for an Eligible Parcel in Compensation Category A2.

                          c. $800 for an Eligible Parcel in Compensation Category B1.

                          d. $800 for an Eligible Parcel in Compensation Category B2.

                ii.   An Eligible Parcel for which the County Land Use Designation in the
                      Administrator’s Database is not listed in Appendix H, shall nonetheless

6
 See Appendix J for an example calculation of a minimum Coastal Real Property
Compensation Amount.
                                            Page 6 of 33

                                                                                              027510
  Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 8 of 34




                     be categorized as an Eligible Parcel for which the County Land Use
                     Designation is listed in Appendix H, if the claimant provides
                     documentation from the county tax assessor sufficient to show that the
                     parcel does in fact have a County Land Use Designation listed in
                     Appendix H.

      F. The Coastal Real Property Compensation Amount shall be allocated as follows:

                i.   For an Eligible Parcel for which there is only one Eligible Claimant, the
                     Eligible Claimant shall receive the entire portion of the applicable
                     Coastal Real Property Compensation Amount.

               ii.   For an Eligible Parcel for which there are more than one Eligible
                     Claimants, the Coastal Real Property Compensation Amount shall be
                     allocated based on the period of legal possession of the particular Eligible
                     Parcel by each Eligible Claimant between April 20, 2010, and December
                     31, 2010. The allocation shall be determined by dividing the Coastal Real
                     Property Compensation Amount by 255 days and then multiplying the
                     product by the number of days each Eligible Claimant had legal
                     possession of the Eligible Parcel.

              iii.   The Claims Administrator shall determine whether an Eligible
                     Claimant(s) is the owner of an Eligible Parcel

      G. An RTP of 2.5 shall be applied to the Coastal Real Property Compensation
         Amount. For example, a hypothetical Coastal Real Property Compensation
         Amount of $1,859 (refer to Appendix H), would receive an RTP equal to $4,648 for
         a total Coastal Real Property Compensation Amount of $6,507 inclusive of RTP.

3. Physical Damage to Real or Personal Property

      A. Physical Damage shall be defined as any physical damage that occurred to an
         Eligible Claimant’s real or personal property located on an Eligible Parcel(s) in
         connection with the DWH Spill or as a result of the response cleanup operations that
         were consistent with the National Contingency Plan or specifically ordered by the
         Federal On-Scene Coordinator or delegates thereof, with the exception of any damage
         claimed for intrusion of oil, dispersant or other substances onto the Eligible
         Claimant’s Eligible Parcel(s). Damages for claims of intrusion of oil, dispersants or
         other substances on an Eligible Parcel are addressed in Section 2. B. above.

                i.   Examples of Physical Damage includes, for example, physical damage
                     that occurred to landscaping, a structure, appurtenances, a dock, a
                     building, a patio, or a deck furniture located on an Eligible Parcel caused
                     by a vehicle, machinery or equipment in use for DWH Spill response
                     cleanup operations.


                                          Page 7 of 33

                                                                                           027511
Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 9 of 34




   B. An Eligible Claimant must provide the Claims Administrator with satisfactory proof
      of all of the following items below in order to qualify to receive compensation for
      Physical Damage:

             i.   The claimant is an Eligible Claimant.

            ii.   The claimed Physical Damage occurred on an Eligible Parcel.

           iii.   The Physical Damage occurred between April 20, 2010 and the date the
                  Economic Injury and Property Claim Settlement Agreement is executed
                  by the parties.

           iv.    The condition of the real or personal property prior to the claimed physical
                  damage.

            v.    The Eligible Claimant owned the real or personal property for which
                  Physical Damage is claimed at the time the damage occurred. The
                  Claims Administrator shall determine whether an Eligible Claimant(s) is
                  the owner of the real or personal property for which Physical Damage is
                  claimed at the time the damage occurred.

           vi.    The Physical Damage was caused by DWH Spill response cleanup
                  operations.

           vii.   For an Eligible Claimant claiming to have incurred costs to repair or
                  replace the damaged property, evidence to establish that the costs were
                  incurred by the Eligible Claimant and that they were reasonable and
                  necessary.

          viii.   For an Eligible Claimant seeking compensation for costs not yet incurred
                  to repair or replace the damaged property, a cost estimate and proof the
                  costs are reasonable and necessary.

   C. An Eligible Claimant must comply with the Claim Form, Document
      Requirements and Verification Statement listed in Appendices E, F and G in order
      to qualify to receive compensation for Physical Damage.

   D. An Eligible Claimant who claims Physical Damage and satisfies Section 3. A, 3. B
      and 3. C above shall receive the lesser of the reasonable and necessary costs to repair
      or replace the damaged property.


                                       Page 8 of 33

                                                                                        027512
 Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 10 of 34




                i.   The Claims Administrator shall have the authority to verify the Eligible
                     Claimant’s estimate of repair and replacement costs, and to undertake an
                     investigation to determine the reasonableness of the costs to repair or
                     replace the damaged property, including obtaining an independent
                     estimate.

               ii.   In no event is an Eligible Claimant entitled to receive pursuant to this
                     Section 3 damages for intrusion of oil, dispersants or other substances onto
                     the Eligible Claimant’s Eligible Parcel(s). Compensation for claims of
                     intrusion of oil, dispersants or other substances on an Eligible Parcel are
                     addressed in Section 2. B above.

4. Federal and State Regulatory Requirements

      A. Nothing in this Compensation Framework for Coastal Real Property Claims shall
         alter, expand, or reduce BP’s obligations for cleanup, removal, spill response and
         remediation of real property under applicable federal, state, or local laws, regulations,
         orders, or agreements. Eligible Claimant shall acknowledge that any right to require
         any cleanup or remediation of the parcel shall not lie with the claimant, but solely
         with governmental authorities, and that the need for any cleanup or remediation, and
         the standards by which the need for or sufficiency of such remediation is decided,
         shall be determined by governmental regulators of the executive department in
         accordance with properly promulgated law, rules, regulations, orders or agreements.
         Such governmental regulators alone shall make such determinations, and the Eligible
         Claimant shall not employ regulatory proceedings as a means to seek the redress of
         claims, which are extinguished pursuant to this Settlement Agreement. It is expressly
         agreed that this acknowledgement of continued potential responsibility for
         governmental compliance on the part of the BP (and all other parties released) shall
         not grant the claimant any personal jurisdiction recourse with respect to the regulatory
         obligations of the released parties. In the event proceedings, formal or informal, occur
         before governmental authorities, the claimant agrees to cooperate fully with the
         released parties in addressing questions or concerns presented by such proceedings;
         the Eligible Claimant shall provide full and free access to the Eligible Parcel in
         connection therewith, and shall further cooperate with the released parties in
         undertaking and proposing by the released parties such remediation that the released
         parties deem most appropriate, desirable, and/or cost-effective in meeting regulatory
         requirements, irrespective of any personal claims, preferences, rights of use or similar
         considerations of the Eligible Claimant, it being understood that such personal
         claims and considerations fall within the scope of the claims released by the Eligible
         Claimant.




                                          Page 9 of 33

                                                                                            027513
 Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 11 of 34




              Compensation Framework for Coastal Real Property Claims
                                   Appendix A
                      Coastal Real Property Claim Zone Map


The Coastal Real Property Claim Zone Map is found in a separate document.




                                       Page 10 of 33

                                                                            027514
 Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 12 of 34




              Compensation Framework for Coastal Real Property Claims
                                        Appendix B
             Criteria Used to Establish the Coastal Real Property Claim Zone


The following criteria were used to establish the Coastal Real Property Claim Zone.

   1. Areas directly intersected by the portions of shoreline assessed by SCAT teams (“SCAT
      Line”), regardless of whether or not the presence of oil was reported on that portion of
      the SCAT Line are included in the Coastal Real Property Claim Zone, as depicted
      below:




   2. Areas not directly intersected by the SCAT Line but touching a portion of the coast on
      which the SCAT line is located, regardless of whether or not the presence of oil was
      reported on that portion of the SCAT Line, are included in the Coastal Real Property
      Claim Zone, as depicted below:




                                         Page 11 of 33

                                                                                         027515
Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 13 of 34




 3. Where portions of the SCAT Line showing the presence of oil terminated short of certain
    physical boundaries (such as waterways, bridges, or roads), parcels between the
    termination of the SCAT line and the particular physical boundary were included in the
    Coastal Real Property Claim Zone. An example is depicted below.




                                      Page 12 of 33

                                                                                     027516
Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 14 of 34




            Compensation Framework for Coastal Real Property Claims
                                   Appendix C
  County Land Use Designations Required for a Parcel to Qualify as an Eligible Parcel
ABRASIVE, ASBESTOS, AND MISCELLANEO
ACREAGE NOT AGRICULTURAL
AGRICULTURAL
AIRPORTS, BUS TERMINALS, MARINE TERMINALS, PIERS, MARINAS
AIRPORTS, TERMINALS, MARINAS
AMUSEMENT-OTHER
APARTMENT (LOW RISE SINGLE BLDG)
APARTMENTS, DUPLEX
AUTO SALES, REPAIR, RENTAL, ETC.
BANK/FINANCIAL INSTITUTION
BARS AND TAVERNS
BOAT DOCKS, MARINAS, AND CAMPING AREA
BOAT HOUSE
BOWLING ALLEYS/SKATING RINKS
BUSINESS SERVICES
CAMPS
CANNING AND PRESERVING OF FRUITS, V
CASINOS
CHURCHES
CLUBS, LODGES, UNION HALLS
CLUBS/LODGES/UNION HALLS, ETC.
COMMERCIAL
COMMERCIAL PARKING
COMMERICAL FORESTRY PRODUCTION
COMMON AREAS
COMMUNITY SHOPPING CENTERS
CONCRETE, GYPSUM, AND PLASTER PRODU
CONDOMINIA
CONDOMINIUM
CONDOMINIUM RES.(HIGH RISE)
CONDOMINIUM RES.(LOW RISE)
CONDOMINIUM, MASTER CARD
CROPLAND (GOOD A1)
CULTURAL/ENTERTAIN/REC.-OTHER
DUPLEX RESIDENCE
ENCLOSED THEATRES/AUDITORIUMS
FARMS(GENERAL)
FINANCIAL INSTITUTIONS
FISHING ACTIVITIES AND RELATED SERV

                                      Page 13 of 33

                                                                                   027517
Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 15 of 34




FOOD AND KINDRED PRODUCTS - MANUFAC
GENERAL MERCHANDISE
GOLF COURSES, DRIVING RANGES
HARDWARE,PLUMBING,HEATING EQUIP,AND
HIWAY AND STREET RIGHT OF WAY
HOTELS, MOTELS
HOTELS/MOTELS
HOTELS-RESIDENTIAL
HOUSEHOLD UNITS. (VAC)
HUNTING AND FISHING CLUBS
ISLAND
LAKES AND PONDS
LEASEHOLD INTERESTS
MACHINERY,EQUIPMENT AND SUPPLIES-WH
MANUFACTURING HOMES
MARINAS
MARINE REPAIR DOCKS
MASTER CARD
MEATS AND FISH MARKETS-RETAIL
MINITURE GOLF
MISCELLANEOUS RESIDENTIAL
MIXED USE
MOBILE HOME PARKS
MOBILE HOME PARKS OR COURT
MOBILE HOMES
MOBILE HOMES (SINGLE TRAILER)
MOTELS
MOTELS, TOURIST COURTS, ETC.
MULTI-FAMILY
MULTI-FAMILY (10 UNITS OR MORE)
MULTI-FAMILY (UNDER 10 UNITS)
MULTI-FAMILY 1O UNITS OR MORE
MULTI-FAMILY LESS THAN 10 UNITS
MULTI-USE AND MILTI-STORY BUILDING
NIGHTCLUBS, LOUNGES, BARS
NON AGRICULTURAL ACREAGE
NURSING HOMES
OFFICE (LOW RISE)
OFFICE BUILDINGS
OFFICE BUILDINGS - MULTI STORY
OFFICE BUILDINGS - ONE STORY
OFFICES-GENERAL
ONE FAMILY UNIT
                               Page 14 of 33

                                                                     027518
Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 16 of 34




OPEN STORAGE/JUNK YARDS, ETC.
ORPHANAGES
OTHER FABRICATED METAL PRODUCTS - M
OTHER FINANCE,INSURANCE AND REAL ES
OTHER FOOD AND KINDRED PRODUCTS - M
OTHER FOOD PROCESSING
OTHER FOOD –RETAIL
OTHER FORESTRY ACTIVITIES AND RELAT
OTHER PUBLIC ASSEMBLY
OTHER RETAIL TRADE
PAINTS, VARNISHES, LACQUERS, ENAMEL
PARKING LOTS, MOBILE HOME PARKS
PARKS
PASTURELAND (GOOD B1)
PATIO HOME
POINT CADET DEVELOPMENT CORPORATION
PREFAB. METAL BUILDING (COMM.)
PREFAB. METAL BUILDING (FARM)
PROFESSIONAL SERVICE BUILDINGS
PROFESSIONAL SVCS. BUILDINGS
RECREATIONAL - CLASSIFIED USE
RECREATIONAL (LOW PARTITIONS)
RECREATIONAL ACTIVITIES
RELIGIOUS SERVICES
RENTAL-SERVICES
REPAIR SERVICE SHOPS
REPAIR SERVICES
REPAIR SHOPS (NOT AUTOMOTIVE)
RESIDENTIAL
RESTAURANT
RESTAURANTS
RESTAURANTS(ALCOHOLIC BEVERAGES)-RE
RESTAURANTS(CARRY-OUT SERVICE)-RETA
RESTAURANTS(CURB SERVICE)-RETAIL
RESTAURANTS, CAFETERIAS
RESTAURANTS-GENERAL
RETAIL TRADE-AUTOMOTIVE, MARINE CRA
RIGHTS-OF-WAY/STREETS/DITCHES
RIVERS AND LAKES
RIVERS/LAKES/SUBMERGED LANDS
SERVICE STATIONS
SERVICE STATIONS-RETAIL
SERVICES-OTHER
                               Page 15 of 33

                                                                     027519
Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 17 of 34




SEWAGE DISPOSAL, SOLID WASTE, BORROW PITS, DRAINAGE RESERVOIRS,
WASTE LAND, MARSH, SAND DUNES, SWAMPS
SEWAGE DISPOSAL/LANDFILLS/MARSH
SINGLE FAMILY RESIDENCE
SINGLE FAMILY RESIDENTIAL
STORE (RETAIL TRADE)
STORES, ONE STORY
TIMBER (AVG)
TIMBER (GOOD)
TIMBER (POOR)
TIMBERLAND
TIMBERLAND (FAIR)
TIMBERLAND (POOR)
TIME SHARING COMPLEX
TOURIST ATTRACTIONS
TOWNHOUSE
TOWNHOUSE - SINGLE FAMILY
TWO FAMILY UNITS
UNDEFINED (DOR USE ONLY)
UNDEVELOPED AND UNUSED LAND
UNDEVELOPED LAND & WATER AREAS
UNION,FRATERNAL,CIVIC SERVICE FACIL
UNKNOWN COMMERCIAL
UNKNOWN LANDUSE
VACANT COMMERCIAL
VACANT FLOOR AREA, COMMERCIAL
VACANT INDUSTRIAL
VACANT IZ LAND (PAVE RD)
VACANT LAND NOT SUITABLE FOR DEVELO
VACANT LAND SUITABLE FOR DEVELOPMEN
VACANT MULTIFAMILY RESIDENTIAL
VACANT RESIDENTIAL
VACANT RESIDENTIAL LOT
VACANT RESIDENTIAL SUBDIVISION
VACANT ST RURAL LAND (NO ROAD)
VACANT ST RURAL LAND (PAVE RD)
VACANT WATERFRONT
VACANT/UNDEVELOPED LAND
WAREHOUSE
WAREHOUSING AND STORAGE
WAREHOUSING, DISTRIBUTION TERMINALS, TRUCKING TERMINALS
WAREHOUSING/TRUCKING TERMINALS
WATERFRONT IMPROVED

                               Page 16 of 33

                                                                     027520
Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 18 of 34




                               Page 17 of 33

                                                                     027521
 Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 19 of 34




              Compensation Framework for Coastal Real Property Claims
                                     Appendix D
                    Eligible Parcel Compensation Category Map


The Eligible Parcel Compensation Category Map is found in a separate document.




                                       Page 18 of 33

                                                                                 027522
 Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 20 of 34




                Compensation Framework for Coastal Real Property Claims
                                      Appendix E
                           Coastal Real Property Claim Form


1. Are you claiming you are entitled to compensation for one or more parcels you owned during
   the time period April 20, 2010 to December 31, 2010 under the Compensation Framework
   for Coastal Real Property Claims?


                                      ____ Yes      ____ No


2. Are you claiming you are entitled to compensation for one or more parcels you leased during
   the time period April 20, 2010 to December 31, 2010 under the Compensation Framework
   for Coastal Real Property Claims?
                                      ____ Yes      ____ No


3. If you answered yes to Question 1 or 2 above, are you also claiming you are entitled to
   compensation for physical damage that occurred to your real or personal property located on
   your parcel(s) in connection with the DWH Spill response clean-up operations during the
   time period April 20, 2010 to December 31, 2010?

                                      ____ Yes      ____ No


If you answered yes to any of the questions above, (i) answer the questions below, (ii) provide
the documentation required in the Document Requirements form (Appendix F), and (iii)
complete a Coastal Real Property Verification Statement (Appendix G).


4. What is the street address of the parcel(s)?

   ___________________________________________________________________________

   ___________________________________________________________________________


5. What is the tax assessment identification number of the parcel(s)?

   ___________________________________________________________________________

   ___________________________________________________________________________


                                           Page 19 of 33

                                                                                             027523
 Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 21 of 34




6. What is the parcel identification number of the parcel(s)?
   ___________________________________________________________________________

   ___________________________________________________________________________

7. If you owned the parcel(s) and leased it during the time period April 21, 2010 to
   December 31, 2010, when did the lease begin?

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

8. If you owned the parcel(s) and leased it during the time period April 21, 2010 to
   December 31, 2010, when did the lease end?

   ___________________________________________________________________________

   ___________________________________________________________________________

9. If you were a lessee of the parcel(s) and you leased it during some time period between
   April 21, 2010 and December 31, 2010, when did the lease begin?

   ___________________________________________________________________________

   ___________________________________________________________________________

10. If you were a lessee of the parcel(s) and you leased it during some time period between
    April 21, 2010 and December 31, 2010, when did the lease end?

   ___________________________________________________________________________

   ___________________________________________________________________________

You must only answer the following questions if you claim you are entitled to compensation for
physical damage that occurred to your real or personal property located on your parcel(s).




                                          Page 20 of 33

                                                                                              027524
 Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 22 of 34




11. Identify and describe the real or personal property that you claim was physically damaged in
    connection with the DWH Spill response cleanup operations.

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________


12. Describe the physical damage that you claim occurred to your real or personal property
    located on your parcel(s) in connection with the DWH Spill response clean-up operations.

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________


13. Where on your parcel was your real or personal property located when the damage occurred?

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________




14. When did the physical damage to your real or personal property occur?
                                          Page 21 of 33

                                                                                           027525
 Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 23 of 34




   ___________________________________________________________________________

   ___________________________________________________________________________


15. Describe in detail what caused the physical damage to your real or personal property.

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________


16. If you know, who caused the physical damage to your real or personal property?

   ___________________________________________________________________________

   ___________________________________________________________________________

17. If you know, were the DWH Spill response cleanup operations that you claim caused the
    physical damage to your real or personal property consistent with the National Contingency
    Plan or specifically ordered by the Federal On-Scene Coordinator or delegates thereof?

                       ____ Yes      ____ No          _____ I Don’t Know


18. Describe the condition of the real or personal property prior to the damage you claim
    occurred.

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

19. Did you own the real or personal property that you claim was damaged at the time the
    damage occurred?

                                     ____ Yes        ___ No

                                           Page 22 of 33

                                                                                            027526
 Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 24 of 34




20. Have you already incurred the cost to repair or replace the real or personal property that you
    claim was physically damaged?


                                       ____ Yes       ___ No
21. If your answer to Question 20 is yes, please identify the following:


       a. Was the damaged property repaired or replaced?
            ____________________________________________________________


       b. If the damaged property was replaced, state the reasons that the property was replaced
          instead of being repaired.

            _____________________________________________________________________

            _____________________________________________________________________

            _____________________________________________________________________



       c. If the damaged property was replaced, state the name and address of the individual or
          business from which the replacement was obtained and the cost you incurred to
          replace the property.
            _____________________________________________________________________

            _____________________________________________________________________

            _____________________________________________________________________


       d.    If the damaged property was repaired, state the name and address and telephone
            number of the individual or business that did the repairs, the cost you incurred to
            repair the property, and identify the repairs that were done.
            _____________________________________________________________________

            _____________________________________________________________________

            _____________________________________________________________________


22. If the answer to Question 20 is no, please identify the following:
                                            Page 23 of 33

                                                                                              027527
Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 25 of 34




    a. State whether the damaged property can be repaired?


                                  ____ Yes       ___ No


    b. If the damaged property can be repaired, have you obtained a cost estimate to repair
       the damaged property?
                                  ____ Yes       ___ No


    c. If you have obtained a cost estimate to repair the damaged property, state the name
       address and phone number of the individual or entity that provided the cost estimate,
       what repairs are being done and the amount of the cost estimate for the repairs.


       _____________________________________________________________________

       _____________________________________________________________________

       _____________________________________________________________________


    d. If you claim that the damaged property cannot be repaired, explain the reasons for
       your claim.
       _____________________________________________________________________

       _____________________________________________________________________

       _____________________________________________________________________

       _____________________________________________________________________

       _____________________________________________________________________




                                       Page 24 of 33

                                                                                       027528
    Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 26 of 34




                 Compensation Framework for Coastal Real Property Claims
                                       Appendix F
                            Coastal Real Property Claim Form
                                Document Requirements

To receive compensation under the Compensation Framework for Coastal Real Property
Claims you must provide copies of the documents described below.

1. Owners of parcel(s) seeking compensation under the Compensation Framework for
   Coastal Real Property Claims must provide the following:

        a. Official copy of the deed for the parcel for which you are seeking compensation
           showing that you are the owner of the parcel.

                 i. To the extent a state, county, municipality or other governmental agency
                    agrees to provide the Claims Administrator with access to an official database
                    sufficient for the Claims Administrator to confirm the claimant owned the
                    parcel for which they are seeking compensation, the Claims Administrator
                    need not require from the claimant an official copy of the deed or official copy
                    of the 2010 property tax assessment notice for the parcel for which they are
                    seeking compensation. Rather, the Claims Administrator is authorized to
                    accept from the claimant the street address and tax identification number or
                    parcel identification number for the parcel for which they are seeking
                    compensation as sufficient to satisfy this subpart, and the Claims
                    Administrator will use the database to confirm the claimant’s valid ownership
                    during the time period April 20, 2010 to December 31, 2010

        b.    Official copy of the 2010 property tax assessment notice for the parcel for which you
             are seeking compensation.7

                 i. To the extent a state, parish, municipality or other governmental agency
                    agrees to provide the Claims Administrator with access to an official database
                    sufficient for the Claims Administrator to confirm the claimant owned the
                    parcel for which they are seeking compensation, the Claims Administrator
                    need not require from the claimant an official copy of the deed or official copy
                    of the 2010 property tax assessment notice for the parcel for which they are
                    seeking compensation. Rather, the Claims Administrator is authorized to
                    accept from the claimant the street address and tax identification number or
                    parcel identification number for the parcel for which they are seeking
                    compensation as sufficient to satisfy this subpart, and the Claims

7
 In some counties, issuance of 2010 tax assessment notices may occur prior to April 20, 2010
such that the correct owner of the eligible parcel may not be reflected, (for example if notices
were mailed January 2010 but ownership changed February 2010). In such a case, a claimant
may provide other documentation such as a copy of the real estate closing/settlement statement
from a sale, in order to prove ownership.
                                            Page 25 of 33

                                                                                              027529
Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 27 of 34




               Administrator will use the database to confirm the claimant’s valid ownership
               during the time period April 20, 2010 to December 31, 2010

    c. If you owned a parcel that you leased for a period of 60 days or longer during the
       time period April 20, 2010 and December 31, 2010 and the lease was executed prior
       to April 20, 2010, provide copies of the executed lease for any time period during
       April 20, 2010 and December 31, 2010.

    d. If you believe your parcel should be added to the Coastal Real Property Claim
       Zone (see Section 1. E.), documentation showing a parcel contains the presence of oil
       pursuant to SCAT or by an official assessment conducted by the Natural Resource
       Trustees in connection with the DWH Spill.

    e. If your parcel is not identified in the Coastal Real Property Claim Zone and should
       be (see Section 1. F. i.), an official document provided by the county tax assessor,
       Clerk of Court, Registrar of Lands or other governmental lands office or agency, or a
       professional survey of the parcel showing actual presence of the parcel within the
       Coastal Real Property Claim Zone.

    f. If your parcel has a County Land Use Designation listed in Appendix C but that is not
       reflected in the Administrator’s Database (see Section 1. G.), documentation for the
       county tax assessor, Clerk of Court, Registrar of Lands or other governmental lands
       office or agency sufficient to show that the parcel does in fact have a County Land
       Use Designation listed in Appendix C.

    g. If you believe your parcel should be reclassified from Compensation Category B1
       or B2 to Compensation Category A1 or A2 (see Section 1. H. i.), independent
       documentation in the form of a government or academic report, not commissioned by
       the Eligible Claimant or the Eligible Claimant’s attorney or agent, with said
       independent documentation establishing that the Eligible Parcel contains the
       presence of oil released by the DWH Spill.

    h. If you believe your parcel is on a shoreline with a primary ESI classification of 10A
       (salt and brackish (coastal marshes)), 10B (freshwater marshes), 10C (freshwater
       swamps) or 10D (scrub-shrub wetlands (includes mangroves)) as determined by the
       NOAA, but that is not reflected in the Administrator’s Database (see Section 1. H.
       ii.), documentation from NOAA showing that the Eligible Parcel is on a shoreline
       with a primary ESI classification of 10A, 10B, 10C or 10D.

    i. If you believe your parcel’s County Appraised Value is net of a Homestead
       Exemption (See Section 2. D. i.), documentation showing the Eligible Parcel’s
       County Appraised Value is net of a Homestead Exemption, and the amount of such
       Homestead Exemption.

    j. If your parcel has a County Land Use Designation listed in Appendix H but that is not
       reflected in the Administrator’s Database (See Section 2. E. ii.), documentation

                                       Page 26 of 33

                                                                                        027530
 Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 28 of 34




          from the county tax assessor, Clerk of Court, Registrar of Lands or other
          governmental lands office or agency that the parcel does in fact have a County Land
          Use Designation listed in Appendix H.

      k. Completed Verification Statement.

2. Lessees of Parcel(s) seeking compensation under the Compensation Framework for
   Coastal Real Property Claims must provide the following:

      a. Executed lease agreement showing possession of the Eligible Parcel for a period of
         60 days or longer during the time period April 20, 2010 and December 31, 2010 and
         was executed prior to April 20, 2010.

      b. Documents reflecting the lease payment(s) made for any time period during April 20,
         2010 and December 31, 2010.

      c. If you believe your parcel should be added to the Coastal Real Property Claim
         Zone (see Section 1. E.), documentation showing a parcel contains the presence of oil
         pursuant to SCAT or by an official assessment conducted by the Natural Resource
         Trustees in connection with the DWH Spill.

      d. If your parcel is not identified in the Coastal Real Property Claim Zone and should
         be (see Section 1. F. i.), an official document provided by the county tax assessor,
         Clerk of Court, Registrar of Lands or other governmental lands office or agency, or a
         professional survey of the parcel showing actual presence of the parcel within the
         Coastal Real Property Claim Zone.

      e. If your parcel has a County Land Use Designation listed in Appendix C but that is not
         reflected in the Administrator’s Database (see Section 1. G.), documentation for the
         county tax assessor, Clerk of Court, Registrar of Lands or other governmental lands
         office or agency sufficient to show that the parcel does in fact have a County Land
         Use Designation listed in Appendix C.

      f. If you believe your parcel should be reclassified from Compensation Category B1
         or B2 to Compensation Category A1 or A2 (see Section 1. H. i.), independent
         documentation in the form of a government or academic report, not commissioned by
         the Eligible Claimant or the Eligible Claimant’s attorney or agent, with said
         independent documentation establishing that the Eligible Parcel contains the
         presence of oil released by the DWH Spill.

      g. If you believe your parcel is on a shoreline with a primary ESI classification of 10A
         (salt and brackish (coastal marshes)), 10B (freshwater marshes), 10C (freshwater
         swamps) or 10D (scrub-shrub wetlands (includes mangroves)) as determined by the
         NOAA, but that is not reflected in the Administrator’s Database (see Section 1. H.
         ii.), documentation from NOAA showing that the Eligible Parcel is on a shoreline
         with a primary ESI classification of 10A, 10B, 10C or 10D.
                                         Page 27 of 33

                                                                                          027531
 Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 29 of 34




       h. If you believe your parcel’s County Appraised Value is net of a Homestead
          Exemption (See Section 2. D. i.), documentation showing the Eligible Parcel’s
          County Appraised Value is net of a Homestead Exemption, and the amount of such
          Homestead Exemption.

       i. If your parcel has a County Land Use Designation listed in Appendix H but that is not
          reflected in the Administrator’s Database (See Section 2. E. ii.), documentation
          from the county tax assessor, Clerk of Court, Registrar of Lands or other
          governmental lands office or agency that the parcel does in fact have a County Land
          Use Designation listed in Appendix H.

       j. Completed Verification Statement.

3. Owners or Lessees of parcel(s) seeking compensation for physical damage to real or personal
   property pursuant to Section 3. B. of the Compensation Framework for Coastal Real
   Property Claims, must provide the Claims Administrator proof of the items below. Proof
   may consist of documents, receipts, photographs, videotaped footage, a sworn statement
   from the claimant and/or sworn statements from a witness(es).

       a. The claimed physical damage to your real or personal property occurred on a parcel
          listed in the Claim Form.

       b. The physical damage occurred between April 20, 2010 and [date of settlement
          agreement].

       c. The condition of the real or personal property prior to the claimed physical damage.

       d. You owned the real or personal property at the time the physical damage occurred.

       e. The physical damage was caused by DWH Spill response cleanup operations.

       f. If you claim to have incurred costs to repair or replace the damaged property,
          evidence to establish that the costs were incurred by you and that they were
          reasonable and necessary.

       g. If you are seeking compensation for costs not yet incurred to repair or replace the
          damaged property, a cost estimate and proof the costs are reasonable and necessary.




                                          Page 28 of 33

                                                                                           027532
 Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 30 of 34




                Compensation Framework for Coastal Real Property Claims
                                     Appendix G
                     Coastal Real Property Verification Statement

For parcel owners, please check the box that applies:



               1. I owned and did not lease my parcel at any time during the period April 20, 2010
                  to December 31, 2010.



               2. I owned and did lease my parcel for more than 60 days during the time period
                  April 20, 2010 to December 31, 2010.



For parcel owners, if you checked box #2, please provide the name(s) of the lessee(s) and time
period of the lease(s).

                                   Name of Lessee                               Dates of Lease

   1.

   2.

   3.

   4.



For parcel lessees, please check the box if applicable:



               1. I leased my parcel for more than 60 days during the time period April 20, 2010
                  to December 31, 2010.




                                            Page 29 of 33

                                                                                           027533
 Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 31 of 34




For parcel lessees, please provide the name of the owner of the parcel and time period of the
lease.

                                    Name of Owner                                Dates of Lease

       1

       2

       3

       4




I declare and affirm under penalty of perjury under the laws of the United States of America that
the foregoing are true and correct.



_______________________________________
Name



________________________________________
Signature


________________________________________
Date




                                           Page 30 of 33

                                                                                            027534
    Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 32 of 34




                   Compensation Framework for Coastal Real Property Claims
                                          Appendix H
             Calculation Examples for Coastal Real Property Compensation Amounts8
                                                   Compensation Category A1
                         A                  B            C            D             E              F
                                                                  D=B*C                        F=D *E
                                                    Applicable       2010        Applicable   Coastal Real
                                       2010 County
                                                       Real       Applicable   Percentage for  Property
                     Property           Appraised
                                                   Property Tax    Property    Compensation Compensation
                                          Value
                                                       Rate         Taxes       Category A1     Amount

                Property A - ESI 2B     $350,000       1.18%        $4,130        40.0%         $1,652




                                                   Compensation Category A2
                         A                  B            C            D             E              F
                                                                  D=B*C                        F=D *E
                                                    Applicable       2010        Applicable   Coastal Real
                                       2010 County
                                                       Real       Applicable   Percentage for  Property
                     Property           Appraised
                                                   Property Tax    Property    Compensation Compensation
                                          Value
                                                       Rate         Taxes       Category A2     Amount

                Property B - ESI 10B    $350,000       1.18%        $4,130        45.0%         $1,859




                                                   Compensation Category B1
                         A                  B            C            D             E              F
                                                                  D=B*C                        F=D *E
                                                     Applicable     2010         Applicable   Coastal Real
                                       2010 County
                                                        Real      Applicable   Percentage for  Property
                     Property           Appraised
                                                    Property Tax Property      Compensation Compensation
                                          Value
                                                        Rate        Taxes       Category B1     Amount

                Property C - ESI 6A     $350,000       1.18%        $4,130        30.0%         $1,239




                                                   Compensation Category B2
                         A                  B            C            D             E              F
                                                                  D=B*C                        F=D *E
                                                     Applicable     2010         Applicable   Coastal Real
                                       2010 County
                                                        Real      Applicable   Percentage for  Property
                     Property           Appraised
                                                    Property Tax Property      Compensation Compensation
                                          Value
                                                        Rate        Taxes       Category B1     Amount

                Property D - ESI 10D    $350,000       1.18%        $4,130        35.0%         $1,446


8
    The final compensation amount shown in this Appendix is exclusive of an RTP of 2.50.
                                                        Page 31 of 33

                                                                                                             027535
Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 33 of 34




              Compensation Framework for Coastal Real Property Claims
                                  Appendix I
        County Land Use Designations Eligible for Minimum Compensation
APARTMENT (LOW RISE SINGLE BLDG)
APARTMENTS, DUPLEX
COMMON AREAS
CONDOMINIA
CONDOMINIUM
CONDOMINIUM RES.(HIGH RISE)
CONDOMINIUM RES.(LOW RISE)
CONDOMINIUM, MASTER CARD
DUPLEX RESIDENCE
MANUFACTURING HOMES
MASTER CARD
MISCELLANEOUS RESIDENTIAL
MOBILE HOMES
MOBILE HOMES (SINGLE TRAILER)
MULTI-FAMILY
MULTI-FAMILY (UNDER 10 UNITS)
MULTI-FAMILY 1O UNITS OR MORE
MULTI-FAMILY LESS THAN 10 UNITS
ONE FAMILY UNIT
PATIO HOME
RESIDENTIAL
SINGLE FAMILY RESIDENCE
SINGLE FAMILY RESIDENTIAL
TOWNHOUSE
TOWNHOUSE - SINGLE FAMILY
TWO FAMILY UNITS
WATERFRONT IMPROVED
MULTI-FAMILY (10 UNITS OR MORE)




                                  Page 32 of 33

                                                                         027536
    Case 2:10-md-02179-CJB-DPC Document 6430-23 Filed 05/03/12 Page 34 of 34




                  Compensation Framework for Coastal Real Property Claims
                                       Appendix J
      Calculations Examples for Minimum Coastal Real Property Compensation Amounts9
                                                           Compensation Category A1
                A                  B              C             D               E            F              G              H
                                                            D=B*C                        F=D *E
                                           Applicable          2010        Applicable   Coastal Real Minimum Coastal Actual Coastal
                              2010 County
                                              Real          Applicable   Percentage for   Property    Real Property Real Property
             Property          Appraised
                                          Property Tax       Property    Compensation Compensation Compensation Compensation
                                 Value
                                              Rate            Taxes       Category A1     Amount      Amount (A1)      Amount *

        Property A - ESI 7      $180,000        1.18%         $2,124          40.0%           $850            $1,000            $1,000

      * The higher between the Coastal Real Property Compensation Amount and the Minimum Coastal Real Property Compensation Amount (A1)




                                                           Compensation Category A2
                A                  B              C             D               E            F              G              H
                                                            D=B*C                        F=D *E
                                           Applicable          2010        Applicable   Coastal Real Minimum Coastal Actual Coastal
                              2010 County
                                              Real          Applicable   Percentage for   Property    Real Property Real Property
             Property          Appraised
                                          Property Tax       Property    Compensation Compensation Compensation Compensation
                                 Value
                                              Rate            Taxes       Category A2     Amount      Amount (A2)      Amount *

       Property B - ESI 10A     $180,000        1.18%         $2,124          45.0%           $956            $1,100            $1,100

      * The higher between the Coastal Real Property Compensation Amount and the Minimum Coastal Real Property Compensation Amount (A2)




                                                       Compensation Category B1
                A                  B              C         D             E            F              G              H
                                                        D=B*C                      F=D *E
                                           Applicable      2010       Applicable  Coastal Real Minimum Coastal Actual Coastal
                              2010 County
                                              Real      Applicable Percentage for   Property    Real Property Real Property
             Property          Appraised
                                          Property Tax   Property   Compensation Compensation Compensation Compensation
                                 Value
                                              Rate        Taxes      Category B1    Amount      Amount (B1)      Amount *

        Property C - ESI 3B     $180,000        1.18%         $2,124          30.0%           $637             $800              $800

      * The higher between the Coastal Real Property Compensation Amount and the Minimum Coastal Real Property Compensation Amount (B1)




                                                       Compensation Category B2
                A                  B              C         D             E            F              G              H
                                                        D=B*C                      F=D *E
                                           Applicable      2010       Applicable  Coastal Real Minimum Coastal Actual Coastal
                              2010 County
                                              Real      Applicable Percentage for   Property    Real Property Real Property
             Property          Appraised
                                          Property Tax   Property   Compensation Compensation Compensation Compensation
                                 Value
                                              Rate        Taxes      Category B1    Amount      Amount (B2)      Amount *

       Property D - ESI 10C     $180,000        1.18%         $2,124          35.0%           $743             $800              $800

      * The higher between the Coastal Real Property Compensation Amount and the Minimum Coastal Real Property Compensation Amount (B2)



9
    The final compensation amount shown in this Appendix is exclusive of an RTP of 2.50.
                                                                 Page 33 of 33

                                                                                                                                          027537
